                                                             1
                                                                 Ryan W. Anderson (Ariz. No. 020974)
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                                                                 Phoenix, Arizona 85054
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                                                                 Phone: (480) 304-8300
                                                             4   Fax: (480) 304-8301

                                                             5   Attorneys for Anthony H. Mason, Chapter 7 Trustee

                                                             6                                 UNITED STATES BANKRUPTCY COURT
                                                                                                 FOR THE DISTRICT OF ARIZONA
                                                             7
                                                                  In Re:
                                                             8                                                       Case No. 2:18-bk-04969-EPB

                                                                  Michael N. Desvigne,                               Chapter 7
                                                             9
Guttilla Murphy Anderson, P.C.




                                                            10                                                       TRUSTEE’S RESPONSE TO MOTION
                                                                                     Debtor.                         FOR RELIEF FROM THE AUTOMATIC
                           5415 E. High Street, Suite 200




                                                                                                                     STAY
                                Phoenix, AZ 85054




                                                            11
                                  (480) 304-8300




                                                            12                                                       Re: Real Property Located at 10511 Front
                                                                                                                     Beach Road #402 Panama City Beach, Florida
                                                            13

                                                            14             Anthony H. Mason, Chapter 7 Trustee herein (“Trustee”), by and through Trustee’s

                                                            15   undersigned attorneys, respectively objects to the Motion for Relief from the Automatic Stay

                                                            16   (“Motion”) filed by Nationstar Mortgage (“Movant”). The property at issue is general described as

                                                            17   10511 Front Beach Road #402, Panama City Beach, Florida 32407 (the “Property”).

                                                            18                                  I.   Trustee’s Opposition to Stay Relief

                                                            19             The Movant alleges that its secured debt against the Property is $275,891. However, in its

                                                            20   Motion Movant does not make any mention of the fair market value of the Property. To further

                                                            21   complicate matters, the Debtor does not disclose any ownership interest in the Property in his

                                                            22   Bankruptcy Statements and Schedules. While the Trustee has limited information regarding the

                                                            23   Property, internet research indicates that the Property is a condominium or apartment in a

                                                            24   development called the Long Beach Towers. Generally available real estate valuation websites,


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                                                             1   such as zillow.com, estimate the fair market value of units in the Long Beach Towers range

                                                             2   between $500,000.00 and $275,000.00. To potentially add to the Trustee’s confusion, the Debtor’s

                                                             3   Bankruptcy Statements and Schedules, makes a reference to a limited liability company called

                                                             4   Tower IV, LLC which the Debtor states “holds title to the Florida condos”, but the Debtor’s

                                                             5   interest in Tower IV, LLC is valued at $0.00. At this stage in this newly filed case, it is impossible

                                                             6   for the Trustee to properly investigate the Property to determine if it is property of the estate or its

                                                             7   fair market value.

                                                             8            Stay relief under 11 U.S.C. §362(d) is not appropriate when there is sufficient equity in

                                                             9   debtor’s property to protect a secured lien holder’s interest in the property. The term “equity” as
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                                                            10   used in 11 U.S.C. §362(d)(2)(A) has been defined by the Ninth Circuit as “. . . . the difference
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                                Phoenix, AZ 85054




                                                            11   between the property value and all encumbrances upon it.” Stewart v. Gurley, 745 F.2d 1194, 1195
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                                                            12   (9th Cir. 1984). Given the range of value of condominium or apartments in the Long Beach Towers,

                                                            13   there may be equity in the Property.

                                                            14            Accordingly, the Trustee asks that he be permitted to complete his investigation into the

                                                            15   Property and if it is determined that there is sufficient equity in the Property, the Trustee will

                                                            16   proceed with marketing of the Property for sale using the assistance of a court-approved real estate

                                                            17   agent.

                                                            18            WHEREFORE, the Trustee respectfully requests an order of this Court denying Movant’s

                                                            19   Motion for relief from automatic stay.

                                                            20            Dated this 11th day of June, 2018.

                                                            21                                          GUTTILLA MURPHY ANDERSON, P.C.

                                                            22                                          /s/ Ryan W. Anderson
                                                                                                        Ryan W. Anderson
                                                            23                                          Attorneys for the Trustee

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                                                             1   Copy of the foregoing mailed
                                                                 on June 11, 2018, to:
                                                             2
                                                                 Michael N. Desvigne
                                                             3   30718 N 126th Ln
                                                                 Peoria, AZ 85383
                                                             4   Debtor

                                                             5   Alan A. Meda
                                                                 Burch & Cracchiolo, PA
                                                             6   702 E. Osborn Rd. #200
                                                                 Phoenix, Arizona 85014-5281
                                                             7   Counsel for the Debtor

                                                             8   Leonard J. McDonald Jr.
                                                                 Tiffany & Bosco, P.A.
                                                             9   Seventh Floor Camelback Esplanade II
                                                                 2525 E. Camelback Road
Guttilla Murphy Anderson, P.C.




                                                            10   Phoenix AZ 85016
                           5415 E. High Street, Suite 200




                                                                 Attorneys for U.S. National Bank Association,
                                Phoenix, AZ 85054




                                                            11   Successor in Interest to Wilmington Trust Co, As Trustee
                                  (480) 304-8300




                                                            12   Leonard J. McDonald Jr.
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                                                            18   Attorneys for Wells Fargo Bank, N.A.

                                                            19   Shapiro, Van Ess & Sherman, LLP
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                                                                 Phoenix, AZ 85012
                                                            21   Attorneys for Key Bank

                                                            22   Weltman, Weinberg & Reis
                                                                 3705 Marlane Drive
                                                            23   Grove City, Oh 43123

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                                                             1   Office of the United States Trustee
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                                                             2   Phoenix, AZ 85003-1706

                                                             3   /s/ Joanellen Campanaro
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